Case 1:15-cv-22208-AMS Document 65-1 Entered on FLSD Docket 06/06/2016 Page 1 of 2



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO.: 15-CV-22208-AMS

   BEYMAR OSIEL PEREZ RAMIREZ,            )
   and all others similarly situated under)
   29 U.S.C. § 216(b),                    )
                                          )
               Plaintiff,                 )
                                          )
         vs.
                                          )
                                          )
   PINNACLE A ROOFING COMPANY,            )
   PINNACLE ROOFING INC., and ROBERT      )
   THOMAS                                 )
                                          )
               Defendants.                )
   _______________________________________)

         ORDER APPROVING JOINT MOTION FOR APPROVAL OF PARTIES’
     SETTLEMENTAGREEMENT AND STIPULATED DISMISSAL WITH PREJUDICE

            Having reviewed the Confidential Settlement Agreement Waiver and Release between

   Plaintiff, BEYMAR OSIEL PEREZ RAMIREZ and Defendants, PINNACLE A ROOFING

   COMPANY and ROBERT THOMAS, and it appearing to the Court that due cause exists to

   approve settlement and dismiss the case with prejudice regarding Plaintiff’s claims against

   Defendants Pinnacle A Roofing Company and Robert Thomas, with the Court to retain

   jurisdiction to enforce the terms of the Confidential Settlement Agreement Waiver and Release,

   it is:

            ORDERED, and ADJUDGED that the Settlement Agreement is hereby APPROVED

   by the Court under Lynn’s Food Stores, Inc. v. United States, 679 F.2d 1350 (11th Cir. 1982), and

   this case is DISMISSED WITH PREJUDICE as to of Plaintiff’s claims against Defendants

   Pinnacle A Roofing Company and Robert Thomas, pursuant to the terms of the Confidential

   Settlement Agreement, Waiver and Release and with the Court to retain jurisdiction to enforce

   the terms of the Confidential Settlement Agreement, Waiver and Release.
Case 1:15-cv-22208-AMS Document 65-1 Entered on FLSD Docket 06/06/2016 Page 2 of 2


          DONE AND ORDERED in chambers, at Miami, Florida, this ______ day of

   ________________ 2016.

                                      ____________________________________
                                      ANDREA M. SIMONTON
                                      UNITED STATES MAGISTRATE JUDGE
   cc: All Counsel of Record




                                        2
